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12
                                UNITED STATES DISTRICT COURT
13
               NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE DIVISION
14

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16   TESLA, INC.,                                   Case No. 5:21-cv-01962-BLF
17                                   Plaintiff,     DEFENDANTS’ OPPOSITION TO
                                                    ADMINISTRATIVE MOTION TO
18            v.                                    SEAL
                                                    (DOCUMENT 28)
19 MCKECHNIE VEHICLE
   COMPONENTS USA, INC. AND MVC Judge:                         Hon. Beth Labson Freeman
20 USA HOLDINGS, LLC,

21                                 Defendant.
22

23            McKechnie Vehicle Components, Inc. and MVC USA Holdings, LLC (collectively,

24   “MVC”), hereby responds to Plaintiff Tesla Inc.’s Renewed Administrative Motion to Seal

25   Portions of Its Ex Parte Motion for a Temporary Restraining Order1 (the “Motion for TRO”) and

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     1
      This Court has already issued a ruling on the ex parte Motion for TRO.
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                                                    1                 CASE NO.: 5:21-CV-01962-BLF
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 1   Preliminary Injunction and Certain Documents in Support Thereof (the “Motion to Seal”) and

 2   states as follows:

 3      I.       INTRODUCTION

 4            Again, Tesla seeks to seal numerous categories of information without a compelling

 5   reason. The renewed request does nothing more than reduce the number or breath of requested

 6   redactions. Tesla’s only argument as to why these categories should be redacted, is conclusory,

 7   unsupported conjecture, that “if publicly disclosed, all of this information could undermine

 8   Tesla’s ability to compete, negotiate with potential suppliers and address any potential parts

 9   shortage.” (Tesla’s Renewed Brief at p. 4:20-4:22). A detailed explanation must be proffered by

10   the moving party because a court must reach its decision “without relying on hypothesis or

11   conjecture.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016).

12   In fact, this Court cautioned Tesla in footnote one of its order denying the original motion to file

13   under seal by stating, “Tesla must review the entire contract to determine whether there is a

14   compelling reason to seal each provision.” [Doc. No. 27 at foot note one]. (Emphasis added).

15   Tesla has failed to provide this Court with any compelling reasons to seal.

16      II.      ARGUMENT

17      A. Sealing Is Not Proper Absent a “Compelling” Need, Which Is Not Present Here

18            Filing under seal is highly disfavored in the American court system due to common-law

19   right of public access to judicial documents and the qualified First Amendment right to attend

20   judicial proceedings. Hartford Courant Co. v. Pellegrino, 380 F. 3d 83, 91 (2d Cir. 2004).

21   “Historically, courts have recognized a ‘general right to inspect and copy public records and

22   documents, including judicial records and documents.’” Fujitsu Ltd. v. Belkin Intern., Inc., 2012

23   WL 6019754, at *1 (N.D. Cal. 2012) (quoting Nixon v. Warner Commc'ns, Inc., 435 U.S. 589,

24   597 & n. 7 (1978)). Thus, “[u]nless a particular court record is one ‘traditionally kept secret,’ a

25   ‘strong presumption in favor of access’ is the starting point.” Id. (citing Kamakana v. City and

26   Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir.2006) and quoting Foltz v. State Farm Mut. Auto.

27   Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)).

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 1           To meet the compelling reasons standard, a party must show articulable facts that a

 2   compelling reason exists. Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995). A

 3   detailed explanation must be proffered by the moving party because a court must reach its

 4   decision “without relying on hypothesis or conjecture.” Ctr. for Auto Safety v. Chrysler Grp.,

 5   LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016). “The mere fact that the production of records may

 6   lead to a litigant’s embarrassment, incrimination, or exposure to further litigation will not,

 7   without more, compel the court to seal its records.” Kamakana, 447 F.3d at 1179 (citing Foltz,

 8   331 F.3d at 1136). “In general, ‘compelling reasons’ ... exist when such ‘court files might have

 9   become a vehicle for improper purposes,’ such as the use of records to gratify private spite,

10   promote public scandal, circulate libelous statements, or release trade secrets.” Id. (citing Nixon,

11   435 U.S. at 598) (emphasis added).

12           Here, Tesla merely offers conclusory, conjecture that the release of this information may

13   have an adverse impact.       Tesla does not provide a detailed explanation with the relevant

14   information showing that this will actually occur. Had Tesla provided a showing that the alleged

15   harm is likely to occur, even then, it would be mere conjecture and insufficient for this Court to

16   seal.   Without a showing of a compelling reason that the information sought to be seal is

17   justified, the renewed order should be denied.

18       B. The Public Has the Right to Access to Determinative Materials

19           While on one hand arguing a competitive disadvantage, Tesla states, “[a]nd at the same

20   time, the public does not have a meaningful interest in obtaining the information that Tesla seeks

21   to seal. None of this information is germane to a thorough understanding of Tesla’s lawsuit, the

22   parties’s [sic] dispute, or the Court’s order on Tesla’s TRO Motion.” (Tesla’s Renewed Brief at

23   4:5-4:7). Yet, in denying Plaintiff’s TRO motion, in an order filed under seal, it is clear that a

24   necessary component was a review of the underlying contract and the information surrounding it.

25   [Doc. No. 25 *SEALED*]. The public already knows the Court has reviewed the contract

26   because in the order denying the original motion to file under seal, the order states, “The Court

27   has reviewed the contract and finds large swaths of the contract are relatively generic.” [Doc. No.

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 1   27 at 2:28-3:1]. “[T]he public has a right of access to materials on which a court relies in

 2   determining the litigants’ substantive rights.” Ctr. for Auto Safety, 809 F.3d at 1100 (citations

 3   omitted); Levy, 143 F.R.D. at 56.

 4             Although not currently before this Court, MVC intends to file a counter-claim putting at

 5   issue the letter agreement/alleged loan between the two parties. As part of this claim, the loan

 6   document itself will be front and center in this litigation. Moreover, Count Four of Plaintiff’s

 7   complaint deals with enforcement of the loan agreement. It too should be subject to the public

 8   docket and it is likely that this Court will rely on the terms and conditions contained therein to

 9   resolve any dispute. Further, that agreement is not marked “Confidential” and therefore there can

10   be no compelling reason to seal a document that there is no agreement as to its confidential

11   nature.

12             In sum, if the Court has relied on the contract, or any information that may be contained

13   within that contract in making its determination on the TRO, that information should be made

14   available in the Court’s record.

15      III.      CONCLUSION

16             Tesla has merely provided conclusory, unsupported conjecture as to how it might be

17   harmed, and has not shown any compelling reason why this renewed motion to seal is justified.

18   Tesla itself made the decision to file this lawsuit knowing the potential for harm, and now must

19   live with potential consequences. In sum, Tesla’s Renewed Motion to Seal should be denied as

20   Tesla has failed to show a compelling reason why such documents should be sealed.

21   Dated:     April 15, 2021                      CLARK HILL LLP
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23
                                                    By:
24                                                             Georges A. Haddad
25                                                  Attorneys for Defendants
                                                    McKechnie Vehicle Components USA, Inc. and
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on this 15th day of April, 2021, I will electronically file
 3   the foregoing with the Clerk of the Court using the CM/ECF system, which will
 4   then be sent Electronically to the registered participants as identified on the Notice
 5   of Electronic Filing (NEF) and paper copies will be sent by first class mail to any
 6   counsel of record indicated as non-registered participants.
 7   Dated: April 15, 2021                                /s/ Georges A. Haddad
                                                          Georges A. Haddad
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